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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DOUGLAS MARSHALL, SIMON                          :
CAMPBELL, ROBERT ABRAMS, AND                     :
TIMOTHY DALY,                                    :
     Plaintiffs,                                 :   Civil Action No. 2:21-cv-04336
                                                 :
         v.                                      :
                                                 :   Honorable Gene E.K. Pratter
                                                 :
PETER C. AMUSO, et al.
                                                 :
     Defendants.

                  DEFENDANTS’ BRIEF IN OPPOSITION TO PLAINTIFFS’
                      MOTION FOR PRELIMINARY INJUNCTION

          Defendants, Pennsbury School District, Michael P. Clarke, Esq., Peter C. Amuso, Esq.,

Cherrissa Gibson, Christine Toy-Dragoni, Joshua Waldorf, Sherwood (Chip) Taylor, Howard

Goldberg, T.R. Kannan, Michael Pallotta, Linda Palsky, Gary Sanderson, Debra Wachspress and Ann

Langtry (“Defendants”), by and through their attorneys, Sweet, Stevens, Katz & Williams LLP,

hereby file Brief in Opposition to Plaintiffs’ Motion for Preliminary Injunction (ECF 4).

    I.        Introduction

          The Complaint (ECF 1) challenges the constitutionality and application of District Policies

903 and 922 regarding public comment at Board meetings. Plaintiffs’ Motion for Preliminary

Injunction seeks to enjoin the District from enforcing Policies 903 and 922 in their entirety.

Plaintiffs’ Motion must be denied because, inter alia, Plaintiffs are not likely to succeed on the

merits of their claims in the Complaint and they have not suffered any irreparable harm. Policies

903 and 922 pass constitutional muster on their face and they were applied in reasonable manner.

At no time was Plaintiffs’ speech chilled and Defendants did not violate their constitutional rights.
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   II.       Summary of Relevant Facts

          Defendants incorporate by reference the facts set forth in the Unsworn Declarations of

Gibson and Amuso, Exhibits 1 and 2 to Defendants’ Response to Plaintiffs’ Motion for Preliminary

Injunction respectively, as though fully set forth herein.

   III.      Statement of Issues Presented

             a. Whether Plaintiffs’ Motion for Preliminary Injunction must be denied
                because they are not likely to succeed on the merits of their case?

                              [suggested answer in the affirmative]

             b. Whether Plaintiffs’ Motion for Preliminary Injunction must be denied
                because there is no credible evidence that they suffered any irreparable harm?

                              [suggested answer in the affirmative]

             c. Whether Plaintiffs’ Motion for Preliminary Injunction must be denied
                because greater harm will result to Defendants if granted?

                              [suggested answer in the affirmative]

             d. Whether Plaintiff’s Motion for Preliminary Injunction must be denied
                because public interest does not favor granting the injunction?

                              [suggested answer in the affirmative]

   IV.       Preliminary Injunction Standard

          “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

v. Natural Resources Defense Council, 555 U.S. 7, 24 (2008). A party seeking a preliminary

injunction must establish four factors: (1) a reasonable probability of success on the merits of their

argument; (2) irreparable harm to the movant in the absence of relief; (3) granting the preliminary

injunction will not result in greater harm to the nonmoving party; and (4) the public interest favors

granting the injunction. See American Exp. Travel Related Services, Inc. v. Sidamon–Eristoff, 669

F.3d 359, 366 (3d Cir. 2012).




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   V.       Argument

            a. Plaintiffs’ Motion for Preliminary Injunction must be denied because they are
               not likely to succeed on the merits of their case.

        Despite their assertions to the contrary, Plaintiffs are not likely to succeed on the merits for

several reasons, including for those reasons set forth in Defendants’ Motion to Dismiss and Brief

in Support, which are incorporated by reference as though fully set forth herein. Plaintiffs will not

succeed for the following reasons:

              i.   There is no evidence of any viewpoint discrimination.

        Plaintiffs’ allegations are mere speculation and conjecture. There are no credible facts of

record that any Defendant restricted any speech based upon any individual’s viewpoint. Rather,

Assistant Solicitor Amuso applied Policy 903 in a non-discriminatory manner at all times without

regard to the viewpoint of the speech. (Amuso Unsworn Declaration, ¶¶ 24, 28, 34, 38, 54). The

mere fact that Plaintiffs were found to be in violation of Policy 903 on a handful of occasions does

not give rise to a viable viewpoint discrimination claim against the District as differential impact

alone is not sufficient evidence of unconstitutional viewpoint discrimination. Brown v. City of

Pittsburgh, 586 F.3d 263 (3d Cir. 2009)Error! Bookmark not defined.. Since there is no

evidence of viewpoint discrimination, Plaintiffs cannot succeed as to any of the claims set forth in

the Complaint.

        Moreover, to the extent that Plaintiffs attempt to baselessly argue that the editing of

Marshall’s comments during the March 18, 2021 meeting amount to viewpoint discrimination, the

credible evidence of record reveals that no such discrimination occurred. Dr. Gibson is the

Director of Equity, Diversity, & Education for the Pennsbury School District. (Gibson Unsworn

Declaration, ¶ 1). After receiving approval from the Superintendent to submit her concerns

regarding some of Marshall’s comments to the Board, Dr. Gibson emailed Board President

Christine Toy-Dragoni and the Superintendent on March 20, 2021, expressing her professional
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opinion as to why Mr. Marshall’s comments were offensive and abusive and requesting the same

be removed from the video of the meeting as posted online by the District. (Id. at ¶ 16).

        Mr. Marshall's public comments begin at approximately 46:00 into the recording posted on

the Pennsbury Zoom Youtube Channel. (Id. at ¶ 17). In his initial comments, Marshall expresses

his opinion that equity, diversity and inclusion work is divisive.        (Id. at ¶ 18).    Marshall

subsequently refers to the moving walkway analogy shared during the K-12 Social Justice

Conservation and states that it was an "inversion of Martin Luther King's message and that we

should be colorblind and evaluating people based upon their deeds and words, not the color of

their skin." (Id. at ¶ 19).

        Marshall’s comments escalate from expressing a viewpoint to expressing beliefs and ideas

that were abusive and harmful to Black students and families, as well as the community as a whole.

(Id. at ¶ 21). At 48:19, Marshall begins to speak in coded, racist terms, also known as "dog

whistles.” (Id. at ¶ 22). Racist dog whistles are seemingly innocuous speech often not noticeable

to some, but explicitly communicate a more insidious and abusive message to a subset of the

audience, in this case black and brown students and community members. (Id. at ¶ 23).

        Specifically, from 48:19 to 49:20, Mr. Marshall makes the following statements:

        "Historically, quite frankly it's the Left that's always been problematic regarding
        race. Only the Left owned slaves. Then we had the Emancipation Proclamation, to
        which the Left responded to with a terrorist group known as the Klu Klux Klan.
        And legislatively the Jim Crow Laws, which disenfranchised Black people. We had
        Margaret Sanger who created the American Eugenics Society, which eventually
        became Planned Parenthood, for obvious reasons. That was the 1930's, I have to
        skip a few decades given the constraints in time. LB J created the Great Society,
        which incentivized the destruction of many Black families. The Clinton Crime Bill,
        which created much larger penalties for cocaine for young black men."

(Id. at ¶ 24)

        Later, at 49:46, Marshall states that "In 2019, FBI statistics show that only 9 unarmed Black

men were killed by police, and 19 unarmed White men." (Id. at ¶ 25). Marshall goes on to say,

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"You have thousands of young Black men who are being shot and killed in inner cities, but the

media doesn't focus on them." (Id. at ¶ 26). Marshall's comments focus explicitly on Black people

and are filled with microaggressions, as well as explicitly racist ideas. (Id. at ¶ 27). Marshall’s

comments connect the Black community to several commonly-held, stereotypical beliefs that are

harmful: Black people as inferior, criminals, drug users and as a people who have higher rates of

abortion. (Id. at ¶ 28). Therefore, Marshall’s comments are abusive and not relevant to the work

taking place in the Pennsbury School District. (Id. at ¶ 29). Thus, even assuming, arguendo, that

Marshall had some protected speech in the video, which is expressly denied, there was no

viewpoint discrimination when his comments were edited from the video.

             ii. Individual Defendants are entitled to qualified immunity because they did
                 not violate a constitutional right of Plaintiffs that was clearly established at
                 the time of the alleged conduct.

       It was not clearly established that enforcement of Policies 903 and 922 in a non-discriminatory

manner at Board meetings during the COVID-19 Pandemic could lead to a potential violation of

Plaintiffs’ constitutional rights. Moreover, Policy 903 was adopted from a form policy generated

by the Pennsylvania School Boards Association for use by school districts in Pennsylvania.

(Amuso, ¶ 20). Therefore, it was objectively reasonable that the application and enforcement of

Policies 903 and 922 by Individual Defendants would not violate any constitutional rights of any

Plaintiff. Thus, Individual Defendants must be afforded immunity at this time from all claims set

forth against them in Plaintiffs’ Complaint.

             iii. There is no personal involvement of Individual Defendants Clarke, Gibson,
                  Taylor, Goldberg, Kannan, Pallotta, Palsky, Sanderson, Wachspress and
                  Langtry.

       A defendant in a civil rights action must, in any case, have personal involvement in the

alleged wrongs. Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988), citing Parratt v.

Taylor, 451 U.S. 527, 537 n.3 (1981)Error! Bookmark not defined.. General authority to enforce

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the applicable law is not sufficient to make government officials the proper parties to litigation

challenging the law. Id. at 1208. Plaintiffs will not prevail against Individual Defendants Clarke,

Gibson, Taylor, Goldberg, Kannan, Pallotta, Palsky, Sanderson, Wachspress and Langtry because

they did not have any personal involvement in the alleged violation of Plaintiffs’ constitutional rights.

              iv. Policies 903 and 922 are constitutional on their face.

        Based upon a plain reading of Policies 903 and 922, there is clearly no language in either

that identifies any particular viewpoint, political affiliation, etc. that is not permitted. Policies 903

and 922 are not unconstitutional in every conceivable application. Policy 903 merely provides

that speech that is personally directed, obscene, abusive and/or irrelevant is not permitted, which

is reasonable and viewpoint neutral. Therefore, Policies 903 and 922 are constitutional on their

face and there is no evidence of record which could support a contrary finding.

              v.   Policies 903 and 922 were applied in a reasonable manner.

        The relevant and credible evidence of record shows that the District only found Plaintiffs

to be in violation of Policies 903 and 922 in a few instances. Specifically, Policy 903 was applied

to speech of Abrams on January 21, 2021, March 4, 2021, and May 20, 2021; Plaintiff Marshall

on May 20, 2021; and Plaintiff Daly on December 17, 2020, January 21, 2021, and May 20, 2021.

There is no evidence of any other application of Policy 903 and/or 922 which resulted in the

restriction of any speech by any individual, including any speech of Plaintiffs.

        None of the seven (7) violations of Policies 903 and/or 922 were decided based upon the

viewpoint of the speaker:

                1. Daly’s December 17, 2020 written comment.

        Plaintiff Tim Daly submitted a written comment for the December 17, 2020 Board meeting.

(Amuso, ¶ 25). Mr. Daly’s December 17, 2020 comment included a personal attack on Board

President Christine Toy-Dragoni and therefore it was not included in the written comments

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accepted by the Board. (Id. at ¶ 26). Mr. Daly was advised in writing that his December 17, 2020

would not be accepted because it was found to be in violation of Policy 903. (Id. at ¶ 27).

Specifically, it was personally directed, abusive, obscene and/or irrelevant. (Id). Daly’s December

17, 2020 written comment was not rejected because of the viewpoint expressed in the comment.

(Id. at ¶ 28). Nevertheless, Mr. Daly continued to submit written comments or appear for meetings

after the December 17, 2020 meeting. (Id. at ¶ 29).

                2. Daly’s January 21, 2021 written comment.

         Plaintiff Daly submitted a written comment for the January 21, 2021 Board Meeting. (Id.

at ¶ 32). Daly’s January 21, 2021 comment was found to be in violation of Policy 903 because it

claimed that there was an ongoing FBI investigation of the District without any evidence of same.

(Id. at ¶ 33). Daly’s comment was not rejected because of the viewpoint expressed therein. (Id. at

¶ 34).

                3. Abrams’ January 21, 2021 written comment.

         On January 21, 2021, Plaintiff Abrams submitted a written comment that accused Chris

Berdnik, the District’s business manager, and Board Member Joshua Waldorf of criminal activity,

specifically the misappropriation of taxpayer monies and related fraud, without any evidence

whatsoever of same. (Id. at ¶ 30). Abrams was advised in writing on January 21, 2021, that his

comment would not be accepted because it was found to be in violation of Policy 903. (Id. at ¶

31). Specifically, it was personally directed, abusive, obscene and/or irrelevant. (Id.). Abrams

was given the opportunity to submit a revised comment, but he did not do so. (Id.).

                4. Abrams’ March 4, 2021 written comment.

         Plaintiff Abrams submitted a written comment for the March 4, 2021 meeting that was

rejected for being in violation of Policy 903 because the comment again accused Waldorf and




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Berdnik of theft and fraud with respect to tax monies. (Id. at ¶ 35). Abrams’ comment was not

rejected because of the viewpoint expressed therein. (Id. at ¶ 36).

                 5. Abrams, Marshall and Daly at May 21, 2021 meeting.

        At the May 20, 2021, Board Meeting, Dr. Cherrissa Gibson gave a presentation on the

District Equity Program. (Id. at ¶ 48). Both Daly and Abrams were given an opportunity to ask

questions of Dr. Gibson after her presentation. (Id.).

        During the May 20, 2021 Board Meeting:

        a. Daly began to defend Marshall’s abusive comments from the March 2021 meeting.

        b. Marshall made the following comment, among others, “For example, first-generation

            Nigerian immigrants excel to the top of the academic socio-economic ladder of

            success;” and

        c. Abrams made the following comment, among others, “Sixty-five percent are extremely

            happy now, 27% were neutral, 8% were unhappy. So we’re going to build a

            multimillion dollar program for the 8% that are unhappy. I’ll bring the 8% in here, let

            them meet with-”

(Id. at ¶ 49).

        Assistant Solicitor Amuso demanded that Daly refrain from speaking further because his

comments were abusive and irrelevant to diversity in education and therefore in violation of Policy

903. (Id. at ¶ 50) As Daly was leaving the microphone at my direction, he held up an open

Pennsbury yearbook, pointed at the students on the pages to demonstrate that student

demographics of the high school did not warrant an equity program. (Id. at ¶ 51). Amuso

demanded that Mr. Marshall refrain from speaking further because his comments were abusive

and irrelevant to diversity in education and therefore in violation of Policy 903. (Id. at ¶ 52).

Amuso also demanded that Mr. Abrams refrain from speaking further because his comments were

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irrelevant to diversity in education and therefore in violation of Policy 903. (Id. at ¶ 53). Amuso’s

actions during the May 20, 2021 Board meeting against Marshall, Daly and Abrams were not as a

result of their viewpoint. (Id. at ¶ 54). Rather, Marshall, Daly, and Abrams have expressed, in

detail, their opposition to the District’s equity and inclusion program at meetings, both before and

after the May 2021 meeting. (Id.). Indeed, both Daly and Abrams were permitted to question Dr.

Gibson directly at the May 2021 meeting after her presentation on the Equity Program. (Id.).

              vi. There are no facts of record establishing any elements of a conspiracy
                  involving Defendants.

       There is no evidence regarding any agreement between/among any Defendants to violate

Plaintiffs’ constitutional rights. Therefore, it is axiomatic that there is no evidence as to when any

agreement was formed, the agreed upon conduct, and/or the scope and length of the agreement.

There is also no evidence of as to the time, place, and/or manner in which in any alleged agreement

that was formed specifically between/among Defendants and/or Clarke and Amuso to hold them

liable as state actors. Thus, it is not likely that Plaintiffs will prevail on their conspiracy claims

against any Defendants or any Section 1983 claims against Defendants Clarke and Amuso.

           b. Plaintiffs’ Motion for Preliminary Injunction must be denied because there is
              no credible evidence that they suffered any irreparable harm.

       Simply put, and by their own admissions and actions, Plaintiffs have not suffered any

irreparable harm by the simple fact that they continue to appear at meetings and/or submit written

comments to express their speech after they were found to have violated Policy 903 and/or 922.

(See Amuso, ¶¶ 18, 55). Daly and Abrams continued to submit written comments that were highly

critical of the District even after their comments for the December 2020 and January 2021 meetings

were not accepted. (Id.). Furthermore, Daly, Abrams and Marshall continued to speak at meetings

in a critical manner against the District at meetings after they were found to be in violation of

Policy 903 during the May 20, 2021 meeting. (Id.). Therefore, by Plaintiffs’ own actions, they

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have not suffered any irreparable harm as a result of the application of Policies 903 and 922 by the

District.

        Moreover, Plaintiffs disingenuously claim that their speech has been “chilled” without a

scintilla of evidence to support this baseless conclusion. There is simply no evidence of record

that Defendants restricted the access of any Plaintiff to any meeting and/or otherwise prevented

them from participating. Rather, Plaintiffs admit that they “continue to speak regularly at

Pennsbury school board meetings, and at times, to express their views emphatically regardless of

Defendants’ disapproval.” (ECF, ¶ 106).         Plaintiffs further admit that the alleged harm is

speculative in that “they fear that at any time, their speech might be edited from public distribution

should it cross some arbitrary line, and that at some point Defendants would subject them to

negative attention from law enforcement or limit their access to Pennsbury property, including

their children’s schools.” (Id.) (emphasis added). Finally, the address requirement of Rule 903,

despite there being no competent evidence that same “chilled” any speech, has not been

implemented and/or enforced by the District since the June 2021 meeting. (See Amuso, ¶¶ 58-

60).

        Accordingly, based upon Plaintiffs’ own actions and admissions, Plaintiffs have not

suffered any harm that is permanent and/or irreparable and, therefore, Plaintiffs have also failed to

satisfy this necessary element to obtain injunctive relief.

            c. Plaintiffs’ Motion for Preliminary Injunction must be denied because greater
               harm will result if the Motion is granted.

        Plaintiffs’ Motion for Preliminary Injunction requests that Court “enjoin Defendants from

enforcing the subjective and viewpoint-discriminatory terms in Pennsbury School Board Policies

903 and 922, including "personally directed," "abusive," "irrelevant," "offensive," "otherwise

inappropriate," "personal attack," "inappropriate," and "intolerant," and the address announcement

requirement in Policy 903. In the alternative, Plaintiffs request that this Court enjoin the
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enforcement of Policies 903 and 922 in their entirety.” (ECF 4). As such, if the Court grants this

relief, members of the public will be permitted to make obscene, irrelevant and personal attacks

against anybody for 5 minutes during school board meetings. Clearly they have no right to do so

as the school board meeting is a limited public forum for purposes of the First Amendment and

speech must be related to school activity, at a minimum. Moreover, it could also be argued that

any such relief would be an infringement of the District’s First Amendment rights to discuss school

business only during these meetings. Therefore, greater harm would occur if Plaintiffs’ Motion

was granted because allowing such speech would undoubtedly lead to violence, etc., which does

not occur now as a result of the limited application of Policies 903 and 922 by the District. Thus,

Plaintiffs have failed to also satisfy this necessary element to obtain preliminary injunctive relief.

          d.      Public interest does not favor granting the injunction.

          As discussed, supra, Plaintiffs essentially request that the Court find that board meetings

are a public forum and that they have unfettered free speech rights for 5 minutes during each

meeting. In addition to being contradictory to the controlling law, it is clear and obvious that if

such speech was permitted that it would inevitably lead to unruly behavior, disorderly conduct,

violence, etc. Such consequences are not in the best interest in the public and any argument to the

contrary simply fails. Thus, Plaintiffs have also failed to satisfy the fourth prong necessary to

obtain injunctive relief.

    VI.        Conclusion

          For the good and sound reasons advanced herein, and for those reasons all set forth in

Defendants’ Motion to Dismiss and Brief in Support, Defendants respectfully request that the

Court deny Plaintiffs’ Motion for Preliminary Injunction.




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                             Respectfully Submitted,

                             SWEET, STEVENS, KATZ & WILLIAMS LLP


Date: November 3, 2021       By: /s/ Gary H. Dadamo
                                 Gary H. Dadamo, Esquire PA 93292
                                 Attorney for Defendants,
                                 Peter C. Amuso, Michael P. Clarke, Pennsbury School
                                 District, Cherrissa Gibson, Christine Toy-Dragoni,
                                 Joshua Waldorf, Sherwood (Chip) Taylor, Howard
                                 Goldberg, T.R. Kannan, Michael Pallotta, Linda Palsky,
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DOUGLAS MARSHALL, SIMON                        :
CAMPBELL, ROBERT ABRAMS, AND                   :
TIMOTHY DALY,                                  :
     Plaintiffs,                               :   Civil Action No. 2:21-cv-04336
                                               :
      v.                                       :
                                               :   Honorable Gene E.K. Pratter
                                               :
PETER C. AMUSO, et al.
                                               :
     Defendants.

                                CERTIFICATE OF SERVICE

        I, Gary H. Dadamo, Esquire, counsel for the Defendants, hereby certify that a true and
correct copy of the foregoing Brief in Opposition to Plaintiffs’ Motion for Preliminary Injunction
was served through the Court’s ECF filing system upon counsel of record.

                                     SWEET, STEVENS, KATZ & WILLIAMS LLP


Date: November 3, 2021               By: /s/ Gary H. Dadamo
                                         Gary H. Dadamo, Esquire PA 93292
                                         Attorney for Defendants,
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                                         District, Cherrissa Gibson, Christine Toy-Dragoni,
                                         Joshua Waldorf, Sherwood (Chip) Taylor, Howard
                                         Goldberg, T.R. Kannan, Michael Pallotta, Linda Palsky,
                                         Gary Sanderson, Debra Wachspress and Ann Langtry
